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                                      CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                    Before the Honorable Kirtan Khalsa

                                             Initial Appearance

Case Number:        19-1820 MV                        UNITED STATES vs. DELGADO

Hearing Date:       7/11/2019                         Time In and Out:        10:25 am- 10:31 am

Clerk:              K. Dapson                         Courtroom:              Rio Grande
                                                                              Hans Erickson for this
Defendant:          Christopher Delgado               Defendant’s Counsel:
                                                                              hearing only
AUSA                James Tiereny                     Pretrial/Probation:     D. Marruffo

Interpreter:
Initial Appearance
☐       Defendant sworn

☒       Defendant received a copy of charging document

☒       Court advises defendant(s) of possible penalties and all constitutional rights

☒       Defendant wants Court appointed counsel

☐       Government moves to detain                    ☒      Government does not recommend detention

☒       Set for Arraignment                           on July 12, 2019             @ 9:30 am
Preliminary/Show Cause/Identity
☐       Defendant

☐       Court finds probable cause                    ☐      Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing

☐       Defendant

☒       Conditions of release imposed
Other
☐       Matter referred to    for final revocation hearing

☐
